Case 1:23-cv-01384-GBW         Document 127        Filed 03/14/25     Page 1 of 2 PageID #: 1570




  IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF DELAWARE


  NO LABELS,

                       Plaintiff,

        v.
                                                        Case No. 1:23-CV-01384-GBW
  DELCO0222024, INC. (f/k/a NOLABELS.COM
  INC.), AMERICAN PATRIOT PROJECT, INC.,
  RT GROUP LLC, JOSHUA SILVER, CHARLES
  SILER, and LUCY CALDWELL,

                       Defendants.


    STIPULATION AND [PROPOSED] ORDER REGARDING DELCO0222024, INC.’S
              RESPONSE DEADLINE TO AMENDED COMPLAINT

        WHEREAS, on February 28, 2025, plaintiff, NO LABELS (“Plaintiff”) filed its Amended

 Complaint (the “Amended Complaint”) against defendants DELCO0222024, INC. (f/k/a

 NOLABELS.COM INC.), AMERICAN PATRIOT PROJECT, INC., RT GROUP LLC, JOSHUA

 SILVER, CHARLES SILER, and LUCY CALDWELL (Dkt. 126);

        WHEREAS, Plaintiff and DELCO0222024, INC., through their undersigned counsel, have

 conferred and mutually agreed to extend the deadline for Defendants’ response to the Amended

 Complaint;

        IT IS HEREBY STIPULATED AND AGREED by the parties hereto, through their

 respective undersigned counsel and subject to the approval of the Court, that:

        1.      The deadline for DELCO0222024, INC. to answer, move, or otherwise respond to

 the Amended Complaint is extended to May 16, 2025.



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 1:23-CV-01384-GBW
 3-11-2025                                                                                   1
 No Labels v. DELCO0222024, INC. Et. Al.
Case 1:23-cv-01384-GBW         Document 127   Filed 03/14/25   Page 2 of 2 PageID #: 1571




  HALLORAN FARKAS + KITTILA LLP                BALLARD SPAHR LLP

  /s/ Theodore A. Kittila                      /s/ Elizabeth S. Fenton _________
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  Counsel for Plaintiff



         IT IS SO ORDERED this _______ day of ______________________, 2025.


                                                ______________________________
                                                The Honorable Gregory B. Williams
 1:23-CV-01384-GBW
 3-11-2025                                                                            2
 No Labels v. DELCO0222024, INC. Et. Al.
